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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

ITC HOLDINGS CORP.,
a Michigan corporation,

                   Plaintiff,
v.                                           Case No.:
                                             Hon.

CARL A. HUSLIG,
               Defendant.
__________________________/

                         VERIFIED COMPLAINT
                  FOR INJUNCTIVE AND OTHER RELIEF

      Plaintiff, ITC Holdings Corp. ("ITC"), by and through its attorneys,

Vercruysse Murray, P.C., states the following against defendant Carl A. Huslig:

                                INTRODUCTION

      1.    This action arises out of the breach and/or threatened breach by

defendant Carl Huslig of the Employment Agreement between the parties, as

amended by a Letter Agreement dated June 27, 2012 (collectively,

"Agreement").

      2.    The Agreement restricted defendant, Carl Huslig, from engaging in

any business that directly or indirectly competes with the business of ITC or its

affiliates in any geographical area within 100 miles of where ITC or its

affiliates manufactures, produces, sells, leases, rents, licenses or otherwise
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provides its products or services, and precluded him for using or disclosing

ITC's confidential and trade secret information.

      3.     Defendant’s actions constitute a breach and/or threatened breach of

the Agreement, and Defendant has refused from ceasing and desisting his

misconduct, thereby forcing Plaintiff to commence this action.

      4.     In the Agreement, the parties expressly agreed that “in the event of

a breach or threatened breach, . . . the Company, without posting any bond,

shall be entitled to   . . .   obtain equitable relief in the form of specific

performance, temporary restraining order, temporary or permanent injunction or

any other equitable remedy which may then be available.” Plaintiff now, inter

alia, seeks to exercise that remedy.

                          JURISDICTION AND VENUE

      5.     Plaintiff, ITC, is a Michigan corporation, with its principal place of

business located in Novi, Michigan. It is therefore a citizen of the State of

Michigan.

      6.     Defendant Carl Huslig was a citizen of the State of Kansas at the

time Plaintiff's causes of action accrued and, on information and belief,

continues to be a citizen of the State of Kansas at the time of the filing of this

lawsuit.




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      7.     The amount in controversy exceeds Seventy-five Thousand

($75,000.00) Dollars, exclusive of interest, costs and attorney fees.

      8.     There is an action between citizens of different states, and this

Court has jurisdiction pursuant to 28 U.S.C. §1332(a)(1).

      9.     This Court has personal jurisdiction over Defendant pursuant to

Michigan's long-arm statutes, MCL §§ 600.705 and 600.715, and venue is

appropriate in this Court. As an Executive Director of one ITC subsidiary and

President of another ITC subsidiary, Huslig made numerous working trips to

Michigan during his employment with ITC and, on information and belief,

made trips to Michigan in the commission of his wrongful acts towards ITC,

which were intended to and in fact did cause harm to ITC in Michigan. On

information and belief and in violation of his non-competition with ITC, Huslig

became part of the management of and acted as a Senior Advisor to a

competing Michigan company, Grid Capital Partners LLC ("Grid Capital"),

with its headquarters located in Milford, Michigan, which was formed shortly

after Huslig's termination of employment with ITC. More recently and on

information and belief, Huslig met with the owner of Grid Capital and a Texas

attorney who focuses on the electric industry transactions and regulatory

matters in or around Detroit, Michigan, as part of their concerted actions to

compete with ITC. Huslig has also sought the protections and benefits provided


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by the laws of the State of Michigan, as shown by the choice of law provision in

the Agreement.    In addition, many of the trade secrets and much of the

confidential business information misappropriated by Huslig originated in or

were taken from the State of Michigan.

      10.   This Court has jurisdiction to enter injunctive relief pursuant to the

contract between the parties, Michigan's Uniform Trade Secrets Act, MCL

445.1903, Michigan’s non-competition agreement statute, MCL 445.774a, and

Michigan's common law.

                                    PARTIES

      11.   Plaintiff, ITC, a Michigan corporation, is in the business of

developing, owning, and operating high voltage electric transmission lines and

facilities by and through its subsidiaries. For purposes of reference, ITC owns

and operates the high power electric towers and transmission lines often seen

next to expressways and across farm fields.

      12.   Up and until July 12, 2012, Huslig was employed by ITC as the

Executive Director of ITC Grid Development, LLC and President of ITC Great

Plains, LLC, both high level positions within ITC.

                          GENERAL ALLEGATIONS

      13.   ITC is a publicly traded, independent electric transmission

company, which invests in the electric transmission grid to improve system


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reliability, expand access to markets, lower the overall cost of delivered energy,

and allow new generating sources to interconnect to its transmission systems.

      14.    Through its subsidiaries, ITC owns and operates high voltage

transmission facilities and offices in Michigan, Iowa, Illinois, Minnesota,

Kansas, Oklahoma, Missouri, and Arkansas. Through ITC Grid Development

and its subsidiaries, the Company also focuses on expansion in areas where

significant transmission system improvements are needed.

      15.    Upon Huslig being promoted to the Executive Director position

within ITC on or about July 20, 2009, his job duties included, but not limited to,

the following:

           Actively represented, advocated, and communicated the strategy
      and performance related to ITC Great Plains both internally and
      externally.
          Participated and advocated in industry and stakeholder forums to
      advance the company’s goals and objectives.
           Actively represented, promoted, and positively positioned ITC
      Great Plains throughout the communities, state(s), and region.
            Worked collaboratively with ITC Grid Development to: (1)
      Identify, investigate and evaluate new business opportunities and develop
      detailed business plans for new transmission projects, strategic business
      alliances and transmission acquisition opportunities in the ITC Great
      Plains region; and (2) Develop and maintain corporate relationships with
      strategic partners and regional stakeholders beneficial to the ongoing
      success of ITC.
      16.    In his high level positions, Huslig was placed in a position of trust

and confidence and was privy to and involved in ITC’s strategic planning as it


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relates to its transmission development in the Great Plains region and beyond.

He was also integral in developing and shaping the ITC’s transmission

development strategy as it relates to the ITC’s overall strategic plan.

      17.    Huslig’s duties also entailed identifying, investigating, and

evaluating new business opportunities and developing detailed business plans

for new transmission projects, strategic business alliances, and transmission

acquisition opportunities in the Great Plains region and beyond.

      18.    Huslig was also provided access to ITC's business partners and

resources to encourage the development of strong personal relationships with

ITC’s present and future business partners on ITC’s behalf.

      19.    Huslig also had regular access and was privy to ITC’s confidential,

proprietary, and trade secret business information. For example and without

limitation, Huslig had regular access to documents and information regarding

ITC’s strategic and business marketing plans, new business presentations and/or

proposals, business processes and summaries, profit margins, business

revenues, pricing strategies, employee lists, sales and marketing information,

training and operations material and memoranda, computer software and

systems, and financial information concerning or relating to the business

(collectively, "Confidential Information").

      20.    In his positions, Huslig participated in making high level decision-


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making regarding ITC's development and expansion strategies.

      21.   To protect the secrecy of and ITC's substantial investment in the

development of its Confidential Information and to preclude interference

between ITC and its business partners and protect potential business

opportunities, Huslig and ITC entered into an Employment Agreement on or

about July 20, 2009, that imposed limitations on Huslig both during and after

his employment (Exhibit 1).

      22.   In his Employment Agreement, Huslig agreed not to compete with

ITC, directly or indirectly, during his employment and for a one year period

after the termination of his employment:

            7.     Non-Competition

            a.    Employee acknowledges and recognizes the highly
      competitive nature of the business of the Employer and its affiliates and
      accordingly agrees as follows:
                    (i)    During the Employment Term and in the event of a
      termination of Employee’s employment for any reason, for a period of
      twelve (12) months following the date Employee ceases to be employed
      by the Employer (the “Restricted Period”), Employee will not, whether
      on Employee’s own behalf or on behalf of or in conjunction with any
      person, firm, partnership, joint venture, association, corporation or other
      business organization, entity or enterprise whatsoever (“Person”),
      directly or indirectly solicit or assist in soliciting in competition with the
      Employer, the business of any customer or prospective customer:
                         (A) with whom Employee had personal contact or
      dealings on behalf of the Employer during the one-year period preceding
      Employee’s termination of employment;
                        (B) with whom employees reporting to Employee
      have had person contact or dealings on behalf of the Employer during the
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      one year immediately preceding Employee’s termination of employment;
      or
                         (C) for whom Employee had direct or indirect
      responsibility during the one year immediately preceding Employee’s
      termination of employment.
                    (ii) During the Restricted Period, Employee will not
      directly or indirectly:
                          (A) engage in any business that competes with the
      business of the Employer or its affiliates (including, without limitation,
      businesses which the Employer or its affiliates have specific plans to
      conduct in the future and as to which Employee is aware of such
      planning) in any geographical area that is within 100 miles of any
      geographical area where the Employer or its affiliates manufactures,
      produces, sells, leases, rents, licenses or otherwise provides its products
      or services (a “Competitive Business”);
                        (B) enter the employ of, or render any services to,
      any Person (or any division or controlled or controlling affiliate of any
      Person) who or which engages in a Competitive Business;
                           (C) acquire a financial interest in, or otherwise
      become actively involved with, any Competitive Business, directly or
      indirectly, as an individual, partner, shareholder, officer, director,
      principal, agent, trustee or consultant; or
                           (D) interfere with, or attempt to interfere with,
      business relationships (whether formed before, on or after the date of this
      Agreement) between the Employer or any of its affiliates and customers,
      clients, suppliers, partners, members or investors of the Employer or its
      affiliates.
      23.   In his Employment Agreement, Huslig further agreed to maintain

the secrecy of and not use without authorization ITC's Confidential Information

during his employment and thereafter:

            8.     Confidentiality.
      a.    Employee will not at any time (whether during or after Employee’s
      employment with the Employer) (i) retain or use for the benefit, purposes
      or account of Employee or any other Person; or (ii) disclose, divulge,
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      reveal, communicate, share, transfer or provide access to any Person
      outside the Employer (other than its professional advisers who are bound
      by confidentiality obligations), any non-public, proprietary or
      confidential information - including without limitation rates, trade
      secrets, know-how, research and development, software, databases,
      inventions, processes, formulae, technology, designs and other
      intellectual property, information concerning finances, investments,
      profits, pricing, costs, products, services, vendors, customers, clients,
      partners, investors, personnel, compensation, recruiting, training,
      adverting, sales, marketing, promotions, government and regularity
      activities and approvals - concerning the past, current or further business,
      activities and operations of the Employer, its subsidiaries or affiliates
      and/or any third party that has disclosed or proved any of same to the
      Employer on a confidential basis (“Confidential Information”) without
      the prior written authorization of Employer’s Board of Directors.

      24.     As part of the termination of Huslig's employment with ITC,

effective July 12, 2012, the parties entered into a Letter Agreement that

extended certain terms and conditions of his Employment Agreement and

modified Section 7(a)(ii)(A) in that agreement, as follows:

      (A) engage in any business that competes with the business of the
      Employer or its affiliates in any geographical area that is within 100
      miles of any geographical area where the Employer or its affiliates
      manufactures, produces, sells, leases, rents, licenses or otherwise
      provides its products or services ( a “Competitive Business”).

(Exhibit 2)

      25.     In the Letter Agreement, the parties further agreed to extend the

non-competition period to three years or upon making the final payment under

that agreement, whichever is earlier.

      26.     In consideration for Huslig's promises, including without limitation


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the extension of the non-competition period, ITC agreed to pay Huslig

approximately $762,958.68 over a three-year time period, with $695,214.08

having already been paid to Huslig.

      27.    ITC just recently learned that Huslig has been violating his

Agreement notwithstanding that ITC had paid hundreds of thousands of dollars

to Huslig in exchange for his promises not to compete.

      28.    More specifically, in August 2014 a hotel reservation was emailed

to ITC to confirm the reservation of two hotel rooms located at the Detroit

Metropolitan Airport under the name of Huslig and a Texas attorney, Beth

Emery, then working for Husch Blackwell, LLP. When contacted by an ITC

Executive Assistant regarding this misdirected email, Huslig asked her to keep

it confidential and "You Know That I Cannot Do Any thing IN Michigan per

my non compete but ..." (sic, capitals in the original). (Exhibit 3)

      29.    While employed with ITC and on its behalf, Huslig regularly

interacted with Southwest Power Pool ("SPP"), a Regional Transmission

Organization ("RTO"), and its members. SPP independently operates regional

electric transmission grids, and is charged with increasing efficiencies and

allows for and manages transfers of generated power to where it is needed.

      30.    SPP's members include municipal systems, generation and

transmission cooperatives, wholesale generators, power marketers, and


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independent transmission companies, such as ITC. SPP also provides a forum

for industry members to collaborate and develop business relationships

concerning related developments and projects.

      31.     Sunflower   Electric   Power      Corporation   ("Sunflower"),   a

generation and transmission cooperative, is a member of SPP. When Huslig

was employed, he worked and negotiated with Emery, who represented

Sunflower at the time, in developing and consummating a business relationship

between ITC and Sunflower.

      32.    Given the planned meeting between Emery and Huslig in Detroit,

Michigan, as shown by the misdirected hotel room confirmation, ITC began

investigating whether Huslig was acting in violation of his non-competition

agreement.    During the investigation, ITC learned that Huslig had been

soliciting a municipal energy association in Kansas to invest in a transmission

development project using municipal funding and told the association that he

had been working on and/or completed similar projects, including one with the

Oklahoma Municipal Power Authority. This activity was in violation of his

non-competition agreement.

      33.    ITC's investigation also showed that a new Michigan limited

liability company, Grid Capital, was formally organized in December 2012 by

another former ITC employee, Edward Rahill, who was also responsible for


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development activities while he was an ITC employee. Huslig had reported

directly to Rahill while employed at ITC.

      34.    Capital Grid has been described as a "consultancy focused on the

electric transmission, regulate and merchant power models," focusing on "high

voltage Electric Transmission and power infrastructure verticals." (Exhibit 4)

      35.    In that company's business profile, Huslig is listed as a Senior

Advisor and used to be part of Capital Grid's management team.               On

information and belief, Huslig was part of the creation and/or operation of this

consulting firm to assist competitors of ITC.

      36.    On or about March 7, 2014, Rahill, presumably acting in concert

with Huslig, created a Delaware limited liability company called GCP

Transmission Holdings, LLC.       Thereafter the name of that company was

changed to GridLiance Heartland, LLC.

      37.    Also on or about March 7, 2014, Rahill, presumably acting in

concert with Huslig, created a Delaware limited liability company called South

Central MCN LLC, a/k/a South Central Municipal - Cooperative Network, LLC

("South Central").

      38.    Following the meeting between Huslig, Emery, and presumably

Rahill in August 2014 in or about Detroit, Michigan, Huslig created a Kansas

limited liability company by the name of Huslig Consulting, LLC, using his


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home address as his office in Lawrence, Kansas, which is within the geographic

scope of his modified non-competition agreement.

      39.   On his LinkedIn profile, Huslig describes himself as a Senior

Advisor for Huslig Consulting since September 2012, and providing "executive

level consulting to the Electric Utility Industry with an emphasis on the

transmission business." (Exhibit 5)

      40.   On or about August 29, 2014, Rahill, and presumably in concert

with Huslig and Emery, registered GCP Transmission Holdings, LLC as a

foreign corporation in Missouri. On information and belief, the company's

office is located in Kansas City, Missouri, which is within the geographic scope

of Huslig's modified non-competition agreement.

      41.   On or about September 17, 2014, one of Emery's partners at Husch

Blackwell LLP filed a trademark registration with the United States Patent and

Trademark Office, seeking to register the service mark of "GridLiance," with

Capital Grid being the owner.

      42.   On or before September 30, 2014, the name of GPC Transmission

Holdings, LLC, was changed to GridLiance Heartland, LLC.

      43.   In October 2014, Emery apparently left her employment with

Husch Blackwell LLP. She described on LinkedIn that she was "focusing on

electric industry business transactions and regulatory matters" while she was


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employed by Husch Blackwell, LLP. In September 2014, she became the

Senior Vice President, General Counsel & Secretary at GridLiance Power

Networks. (Exhibit 6)

      44.    On information and belief, GridLiance Power Networks is part of

GridLiance Heartland, LLC, and, on information and belief, is controlled and/or

operated by Grid Capital, Rahill, and Huslig with the goal of developing and

competing for electric transmission projects.

      45.    On or about October 7, 2014, Rahill, presumably in concert with

Huslig, registered South Central as a foreign corporation acting in Missouri.

      46.    According to the records of SPP, Emery is the General Counsel for

South Central, operating out of Kansas City, Missouri.

      47.    South Central is now listed by SPP as a qualified applicant for

request for proposals in 2015. Accordingly, Huslig, by and through South

Central, is directly competing against ITC. (Exhibit 7)

      48.    ITC's investigation further has shown that as early as June 2014,

South Central and GCP Transmission Holdings, LLC were working to obtain a

co-development agreement with the Oklahoma Municipal Power Authority in

competition with ITC. (Exhibit 8) On information and belief, Huslig was part

of that transaction and project.




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      49.   These new companies, Grid Capital, GridLiance Heartland, and

South Central are posed to generate income by developing and assisting with

the operation of high-voltage transmission facilities in the geographical area

sets forth in Husig's non-competition agreement.

      50.   Huslig, through these new competitors, is working on developing

electric transmission operations and facilities that would involve long-term

investors, governmental municipalities, and potentially municipal bonds, which

would operate for decades once the infrastructure has been built.          This

underlying foundation might take years to develop and the participants might

not be known publicly until much of that foundation has been built.

      51.   Once that foundation has been developed, it would be difficult if not

impossible to unwind those operations even though it was done in blatant violation

of Huslig's promises and obligations to ITC.

      52.   It would be difficult if not impossible to ascertain ITC's full

monetary damages caused by Huslig's breach, given the number of persons and

entities that would be involved in the funding and development of said

operations and facilities and the number of years that such operations would

continue.

      53.   Most likely, Huslig has or will obtain large commissions and

financial awards once those operations have been funded, while at the same


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time Huslig has been receiving large payments from ITC in consideration for

him not to compete against ITC.

      54.      On October 8, 2014, ITC wrote to Huslig to advise him that it had

obtained information about his misconduct that showed he had been engaging

in an actual and/or threatened breach of his Agreement, as well as his other

fiduciary, statutory, and common law duties owed to ITC.            (Exhibit 9).

Nonetheless, Huslig refused to cease and desist from his continuing

misconduct.

      55.      Upon information and belief, Huslig has utilized ITC’s

confidential, proprietary and trade secret information in his solicitation of new

projects in working with Grid Capital, GridLiance, and South Central.

      56.      Since his departure from ITC, Huslig has and will necessarily be

called upon to use and disclose the confidential and proprietary information and

materials he acquired at ITC in providing almost identical development services

to these new competitors.

      57.      Upon information and belief, Huslig has misappropriated ITC’s

trade secrets, solicited ITC’s customers and potential customers, and have

attempted to misappropriate its business opportunities and expectancies for his

own benefit.

      58.      ITC has no adequate remedy at law for the actions of Huslig since


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the damages ITC has suffered, and will continue to suffer, in connection with

his assistance with the development of new competitors on large transmission

projects and the use and/or disclosure of Confidential Information and trade

secrets, as well as the loss of ITC's competitive edge, goodwill, and fair

competition, are unascertainable and incapable of exact proof, causing ITC

irreparable harm.

      59.    Unless restrained preliminarily and permanently enjoined, Huslig

and those acting in concert with him will continue to violate ITC’s rights by

continuing to violate the terms and conditions of his Agreement for the benefit

of himself and others, as well as using ITC’s confidential and proprietary

information, causing irreparable harm to ITC.

                                COUNT I
                           BREACH OF CONTRACT

      60.    ITC realleges each and every allegation contained in paragraphs 1-

59, inclusive, of this Complaint as though completely set forth herein.

      61.    Huslig’s actions as described above constitute breaches and/or

threatened breaches of the terms of his Agreement.

      62.    As a proximate result of Huslig's violations of his contractual

obligations, ITC will be irreparably injured because ITC has no adequate

remedy at law for his actions and because the damages ITC will suffer in

connection with its loss of customer goodwill, loss of its investment in
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obtaining customers and developing transmission projects, its loss of future

business opportunities, and the divulgence of Confidential Information and

trade secrets, as well as loss of its competitive position, are unascertainable and

incapable of exact proof.

      63.    Huslig, and those acting in concert with him, will, unless restrained

preliminarily and permanently, continue to violate ITC's rights, and he will

continue to ignore his contractual duties to ITC by continuing his attempts to

assist others to compete with ITC for long-term electric transmission projects,

interfere with ITC's opportunities to generate relationships with potential

business partners, and use and/or disclose ITC's Confidential Information,

thereby causing ITC irreparable harm.          Accordingly, a preliminary and

permanent injunction restraining and enjoining Huslig and all those acting in

concert with him from further violating his Agreement is the only remedy that

will afford ITC meaningful relief.

      64.    In his Agreement, Huslig acknowledged that his violation of his

Agreement would cause irreparable harm to the business of ITC, and he further

agreed that, upon an actual or threatened breach, ITC would be entitled to

“equitable relief in the form of specific performance, temporary restraining

order, temporary or permanent injunction or any other equitable remedy which

may then be available."


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      65.    ITC is also entitled to a recovery of its damages, to the extent that

those damages are ascertainable, caused by Huslig's violations of his Agreement

and/or the disgorgement of the funds paid to him in consideration for his

promises in that Agreement.

      66.    Given the long-term violations of his Agreement, ITC also requests

that the non-competition provision be extended in the same amount of time that

Huslig had been in breach.

                               COUNT II
                       BREACH OF FIDUCIARY DUTY

      67.    ITC realleges each and every allegation contained in paragraphs 1-

66, inclusive, of this Complaint as though completely set forth herein.

      68.    As the President of ITC Great Plains, LLC, and Executive Director

of ITC Grid Development, LLC, Huslig was placed in a position of trust and

confidence with ITC which gave rise to fiduciary duties to refrain from

diverting business opportunities away from ITC and to refrain from

misappropriating and using ITC’s Confidential Information, trade secrets, and

goodwill for his own benefit.

      69.    Huslig’s actions in diverting ITC’s business opportunities to his

own benefit (Huslig Consulting), Grid Capital, GridLiance Heartland, and/or

South Central, soliciting ITC’s customers and prospects, and misappropriating

ITC’s Confidential Information, trade secrets, and goodwill for his own benefit
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constitute a breach of Huslig’s fiduciary duties owed to ITC.

      70.      ITC has been damaged through Huslig’s breach(es) of his fiduciary

duties.

      71.      In addition to the above-referenced damages that may be

ascertainable, ITC has no adequate remedy at law since the damages ITC has

suffered, and will continue to suffer, in connection with the loss of the secrecy

of its Confidential Information, as well as the loss of its customer goodwill, lost

business opportunities, and expectancies, are unascertainable and incapable of

exact proof.

      72.      Accordingly, a preliminary and permanent injunction restraining

and enjoining Huslig and those working with him from continuing their

misconduct is the only remedy that will afford ITC any meaningful relief.

                              COUNT III
               VIOLATION OF UNIFORM TRADE SECRETS ACT

      73.      ITC realleges each and every allegation contained in paragraphs 1-

72, inclusive, of this Complaint as though completely set forth herein.

      74.      ITC’s strategic and business marketing plans, new business

presentations and/or proposals, business processes and summaries, profit

margins, business revenues, pricing strategies, and employee lists, sales and

marketing information, training and operations material and memoranda,

computer software and systems, financial information concerning or relating to
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the business, among other information, was developed by ITC at great expense

over many years and derive independent economic value from not being

generally known or readily ascertainable through proper means to persons other

than ITC employees who need to know the information to perform their jobs for

ITC.

          75.   ITC has taken steps which are reasonable under the circumstances

to maintain the secrecy and confidentiality of its confidential and proprietary

information, including requiring certain employees to execute confidentiality

agreements, admonishing employees to maintain the secrecy of the information

and maintain due care with any documents embodying the same, requiring

password access to ITC’s computer databases, securing its offices, and limiting

access to its Confidential Information.

          76.   ITC’s confidential and proprietary information constitute trade

secrets as defined by the Michigan Uniform Trade Secrets Act, MCL 445.1901,

et seq.

          77.   Huslig has and continues to hold a contractual duty to maintain the

secrecy of this information and limit its use.

          78.   Upon information and belief, Huslig, directly and through those

acting in concert with him, misappropriated ITC’s trade secrets by using the

information obtained through his employment with ITC and disclosed the


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information to competitors.

         79.   Huslig, via his counsel, has taken the position that his competitive

actions are outside the geographic scope of his modified non-competition

agreement and has no intention of ceasing and desisting from his conduct,

thereby continuing to put at risk ITC's confidential and trade secret information.

         80.   Huslig’s misappropriation of ITC’s trade secrets was, and is,

willful and malicious.

         81.   ITC has no adequate remedy at law for Huslig's actions since the

damages ITC has suffered and will continue to suffer in connection with the

disclosure and use of its trade secrets are unascertainable and incapable of exact

proof.

         82.   Accordingly, an injunction restraining and enjoining Huslig and

those acting in concert with him from continuing their misconduct is the only

remedy that will afford ITC any meaningful relief.

                                  COUNT IV
                            UNFAIR COMPETITION

         83.   Plaintiff incorporates by reference each of the allegations set forth

in paragraphs 1 - 82 above, as if restated word for word herein.

         84.   The foregoing conduct of Huslig and those acting in concert with

him constitutes an unfair method of competition.



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      85.    As a consequence of Huslig's conduct, ITC has suffered damages

and will continue to suffer irreparable harm and loss.

                              RELIEF REQUESTED

Wherefore, ITC requests:

      1)     That a temporary restraining order and/or preliminary injunction be
issued restraining and enjoining Defendant and all persons acting in concert with
him:
      a)    From directly or indirectly, and in any manner, using or disclosing
      any Confidential Information and trade secrets belonging to or originating
      from ITC, including but not limited to using that information to solicit or
      service ITC's existing or prospective customers and business partners.
      b)    From directly or indirectly competing with ITC, including but not
      limited to soliciting ITC's customers and prospective customers and/or
      providing consulting services or assistance to actual or prospective
      competitors, pursuant to the terms set forth in the Agreement.
      c)    From destroying, altering, modifying or concealing any documents,
      including but not limited to written or printed documents, data, email, and/or
      correspondence in any way relevant to this action, including but not limited
      to documents relating to ITC, Defendant’s employment, his consulting
      company, and any of ITC’s actual or prospective customers.
And further requiring that:
      a)     Defendant immediately return all electronic data and documents that
      include, contain, or are in whole or in part derived from ITC's Confidential
      Information, including but not limited to the Confidential Information itself
      and all copies, summaries, compilations, and reiterations of that information,
      as well as any other ITC property in his possession or control.
      b)    All computer hard drives that have had any of ITC's Confidential
      Information stored on them, or information derived from ITC's Confidential
      Information, be immediately made available for inspection and copying by
      ITC, as well as any and all email correspondence.
      2)     That the temporary restraining order and/or preliminary injunction
remain in full force and effect until such time as ITC’s claim for permanent
injunctive relief is heard and decided by this Court.

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       3)     That Defendant pay ITC's costs, expenses, and attorneys fees incurred
in this action.
       4)    That ITC be awarded its damages to the extent that those damages are
ascertainable.
      5)     That such other relief be provided to ITC as may be available in law
or equity and that is just under the circumstances.




                                      Respectfully submitted by,

                                      VERCRUYSSE MURRAY, P.C.

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Dated: December 18, 2014




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